Case 1:19-gj-00048-BAH Document13 Filed 08/08/19 Page 1 of 4

APPEAL

U.S. District Court
District of Columbia (Washington, DC)
CIVIL DOCKET FOR CASE #: 1:19-gj-00048-BAH

APPLICATION OF THE COMMITTEE ON THE
JUDICIARY, U.S. HOUSE OF REPRESENTATIVES, FOR
AN ORDER AUTHORIZING THE RELEASE OF CERTAIN

GRAND JURY MATERIALS

Assigned to: Chief Judge Beryl A. Howell

Cases: 1:19-mc—00045-BAH
1:19-cv—02379-BAH
In Re

APPLICATION OF THE
COMMITTEE ON THE JUDICIARY,
U.S. HOUSE OF
REPRESENTATIVES, FOR AN
ORDER AUTHORIZING THE
RELEASE OF CERTAIN GRAND
JURY MATERIALS

Petitioner
COMMITTEE ON THE JUDICIARY

Petitioner
U.S. HOUSE OF
REPRESENTATIVES

V.
Inter Par

U.S. DEPARTMENT OF JUSTICE

represented by

represented by

represented by

Date Filed: 07/26/2019

Douglas N. Letter

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ATTORNEY TO BE NOTICED

Douglas N. Letter

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Case 1:19-gj-00048-BAH Documenti13 Filed 08/08/19 Page 2 of 4

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DAVID ANDREW CHRISTENSON represented by DAVID ANDREW CHRISTENSON
TERMINATED: 08/02/2019 P.O. Box 9063

Miramar Beach, FL 32550
PRO SE

 

Date Filed

Page

Docket Text

 

07/26/2019

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APPLICATION FOR AN ORDER AUTHORIZING THE RELEASE OF
CERTAIN GRAND JURY MATERIALS by COMMITTEE ON THE
JUDICIARY, U.S. HOUSE OF REPRESENTATIVES (Attachments: # 1
Declaration of Perry H. Apelbaum, # 2 Exhibit A —— July 11 Hearing
Memorandum, # 3 Exhibit B —— 2.22.19 Letter to AG Barr from Chairman
Nadler + 5 Chairs to AG Barr, # 4 Exhibit C —— 3.25.19 Letter to AG Barr from
Nadler + 5 Chairs.pdf, # 5 Exhibit D —— 4.1.19 Letter to AG Barr from
Chairman Nadler, # 6 Exhibit 3.27.19 Letter to AG Barr et al. from Chairman
Schiff & Ranking Member Nunes.pdf, # 7 Exhibit F — 4.25.19 Letter to AG
Barr et al. from Chairman Schiff & Ranking Member Nunes, # 8 Exhibit G ——
4.19.19 Subpoena to AG Barr, # 9 Exhibit H — 4.22.19 Subpoena to Don
McGahn, # 10 Exhibit I — 5.20.19 Letter to Chairman Nadler from Cipollone, #
1 Exhibit J —— 6.18.19 Letter to Chairman Nadler from Cipollone, # 12 Exhibit
K —5.1.19 Letter to Chairman Nadler from AAG Boyd, # 13 Exhibit L —
5.3.19 Letter to AG Barr from Chairman Nadler, # 14 Exhibit M — 5.7.19
Letter to Chairman Nadler from AAG Boyd, # 15 Exhibit N — 5.8.19 Letter to
AG Barr from Chairman Schiff, # 16 Exhibit O —— 5.24.19 Letter to AG Barr
from Chairman Nadler, # 17 Exhibit P — DOJ Filing in Haldeman, # 18 Exhibit
Q — In re Madison Guarantee Order, # 19 Exhibit R — 4.11.19 Letter to AG
Barr from Chairman Nadler, # 20 Exhibit S —— 5.6.19 Letter to Chairman Nadler
from AAG Boyd, # 21 Exhibit T — July 12 Hearing Transcript (excerpt), # 22
Exhibit U —— June 19 Hearing Memorandum, # 23 Exhibit V — Judiciary July
24 Hearing Transcript (excerpt), #24 Exhibit W —- HPSCI July 24 Hearing
Transcript, #25 Exhibit X —— Procedures for Handling Grand Jury Information,
# 26 Exhibit Y—— Rodino Letter, # 27 Text of Proposed Order)(zrdj) (Entered:
07/26/2019)

 

07/26/2019

 

 

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NOTICE OF RELATED CASE by COMMITTEE ON THE JUDICIARY, U.S.
HOUSE OF REPRESENTATIVES. Case related to Case No. 19mc45. (zrdj)

 
Case 1:19-gj-00048-BAH Documenti13 Filed 08/08/19 Page 3 of 4

Modified on 7/26/2019 to correct related case number (zrdj). (Entered:
07/26/2019)

 

07/26/2019

MINUTE ORDER (paperless) DIRECTING the Committee on the Judiciary to
confer with the appropriate office within the Department of Justice, in light of
the conclusion of Robert S. Mueller III's appointment as Special Counsel for the
Department of Justice, and file jointly, by July 31, 2019, a proposed scheduling
order to control further proceedings. Signed by Chief Judge Beryl A. Howell on
July 26, 2019. (Icbah1) Modified on 7/26/2019 (tg). (Entered: 07/26/2019)

 

07/26/2019

Set/Reset Deadlines: Joint proposed scheduling order due by 7/31/2019. (tg)
(Entered: 07/26/2019)

 

07/30/2019

CERTIFICATE OF SERVICE by COMMITTEE ON THE JUDICIARY, U.S.
HOUSE OF REPRESENTATIVES . (Letter, Douglas) (Entered: 07/30/2019)

 

07/31/2019

NOTICE of Appearance by Elizabeth J. Shapiro on behalf of U.S.
DEPARTMENT OF JUSTICE (Shapiro, Elizabeth) (Entered: 07/31/2019)

 

07/31/2019

PROPOSED BRIEFING SCHEDULE (joint) by U.S. DEPARTMENT OF
JUSTICE. (Shapiro, Elizabeth) (Entered: 07/31/2019)

 

07/31/2019

NOTICE of Appearance by Cristen Cori Handley on behalf of U.S.
DEPARTMENT OF JUSTICE (Handley, Cristen) (Entered: 07/31/2019)

 

07/31/2019

MINUTE ORDER (paperless) ISSUING, upon consideration of the 5 Proposed
Scheduling Order, the following SCHEDULING ORDER: (1) by September 13,
2019, the Department of Justice shall file its response to the Application; (2) by
September 30, 2019, the Committee on the Judiciary shall file its reply. Signed
by Chief Judge Beryl A. Howell on July 31, 2019. (Icbah1) (Entered:
07/31/2019)

 

07/31/2019

Set/Reset Deadlines: Department of Justice's response to the Application due by
9/13/2019; the Committee on the Judiciary's reply due by 9/30/2019. (tg)
(Entered: 07/31/2019)

 

07/31/2019

MOTION to Intervene by DAVID ANDREW CHRISTENSON "Leave to file
GRANTED", Signed by Chief Judge Beryl A. Howell on July 31, 2019. (zrdj)
(Entered: 08/01/2019)

 

08/02/2019

ORDER DENYING the 7 Motion to Intervene. See Order for further details.
Signed by Chief Judge Beryl A. Howell on August 2, 2019. (Icbah1) (Entered:
08/02/2019)

 

08/06/2019

LEAVE TO FILE DENIED- DAVID ANDREW CHRISTENSON :
Supplemental Motion to Intervene This document is unavailable as the Court
denied its filing. " Leave to file DENIED for reasons stated in August 2, 2019
order ECF No. 8 ." Signed by Chief Judge Beryl A. Howell on 8/6/2019. (zrdj)
(Entered: 08/07/2019)

 

08/06/2019

MOTION for Reconsideration re 8 Order on Motion to Intervene by DAVID
ANDREW CHRISTENSON (zrdj) (Entered: 08/08/2019)

 

 

08/06/2019

 

 

 

NOTICE OF APPEAL as to 8 Order on Motion to Intervene by DAVID
ANDREW CHRISTENSON. Fee Status: No Fee Paid. Parties have been
notified. (zrdj) (Entered: 08/08/2019)

 

 
Case 1:19-gj-00048-BAH Document13 Filed 08/08/19 Page 4 of 4

 

 

 

08/08/2019 {12 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion),
and Docket Sheet to US Court of Appeals. The fee remains to be paid and
another notice will be transmitted when the fee has been paid in the District
Court re 11 Notice of Appeal. (zrdj) (Entered: 08/08/2019)

08/08/2019 MINUTE ORDER (paperless) DENYING the 10 Motion to Reconsider, which

 

 

 

does not provide any basis under Federal Rule of Civil Procedure 60(b) for
granting relief from the 8 Order denying the 7 Motion to Intervene. Signed by
Chief Judge Beryl A. Howell on August 8, 2019. (cbah1) (Entered: 08/08/2019)

 

 
